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                           UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF MISSOURI
                            WESTERN DIVISION (KANSAS CITY)

In re:                                                      Case No. 10-43753-jwv-13
         DONALD JOSEPH COCHRAN
         AMANDA ELIZABETH COCHRAN
                Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Richard V. Fink Trustee, chapter 13 trustee, submits the following Final Report and
Account of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee
declares as follows:

         1) The case was filed on 07/19/2010.

         2) The plan was confirmed on NA .

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was dismissed on 10/14/2010.

         6) Number of months from filing to last payment: 3.

         7) Number of months case was pending: 11.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $30,453.96.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

        Total paid by or on behalf of the debtor                $6,750.00
        Less amount refunded to debtor                          $2,776.76

NET RECEIPTS:                                                                                      $3,973.24


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                  $2,282.46
    Court Costs                                                                $0.00
    Trustee Expenses & Compensation                                          $198.66
    Other                                                                      $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                  $2,481.12

Attorney fees paid and disclosed by debtor:                   $300.00


Scheduled Creditors:
Creditor                                        Claim         Claim            Claim       Principal      Int.
Name                               Class      Scheduled      Asserted         Allowed        Paid         Paid
A+ PEST CONTROL INC            Unsecured             94.06           NA              NA            0.00       0.00
ALLIANCE RADIOLOGY ST JOSEPH H Unsecured             68.00           NA              NA            0.00       0.00
APPLY ADVANCE AMERICA          Unsecured            520.00           NA              NA            0.00       0.00
APRIA HEALTH CARE              Unsecured            599.38           NA              NA            0.00       0.00
AT&T MISSOURI                  Unsecured            125.00           NA              NA            0.00       0.00
BANK OF LEES SUMMIT            Unsecured            149.99           NA              NA            0.00       0.00
BEST BUY                       Unsecured         1,191.71            NA              NA            0.00       0.00
CAPITAL ONE                    Unsecured            831.00           NA              NA            0.00       0.00
CASH AMERICA NET OF MISSOURI L Unsecured            500.00           NA              NA            0.00       0.00
COMMERCE BANK                  Unsecured            282.54           NA              NA            0.00       0.00
COMMERCE BANK NA               Unsecured         6,418.88       7,401.75        7,401.75           0.00       0.00
DIAGNOSTIC IMAGING CENTER      Unsecured            207.39        222.73          222.73           0.00       0.00
DIRECT MICROLOANS LLC          Unsecured            500.00           NA              NA            0.00       0.00
DOMINOES PIZZA                 Unsecured             30.00           NA              NA            0.00       0.00
ECAST SETTLEMENT CORP          Unsecured         3,812.00       3,812.73        3,812.73           0.00       0.00
ENCOMPASS MEDICAL GROUP        Unsecured            811.00           NA              NA            0.00       0.00
FORD MOTOR CREDIT              Unsecured        15,503.00            NA              NA            0.00       0.00
FORD MOTOR CREDIT COMPANY LL Secured            15,000.00     14,028.54        14,028.54           0.00       0.00
HANGER PROSTHETICS & ORTHOTIC Unsecured             289.38           NA              NA            0.00       0.00
HEALTH CARE ASSOC ER PHYSICIAN Unsecured             19.26           NA              NA            0.00       0.00
HSBC BANK                      Unsecured        10,373.00            NA              NA            0.00       0.00
HYVEE                          Unsecured            285.11           NA              NA            0.00       0.00
JACKSON COUNTY - MANAGER FINA Unsecured             800.00      1,058.40        1,058.40           0.00       0.00
JACKSON COUNTY COLLECTOR       Unsecured         1,100.00            NA              NA            0.00       0.00
JACKSON COUNTY COLLECTOR       Priority          1,500.00            NA              NA            0.00       0.00
KANSAS CITY NEUROLOGY ASSOC Unsecured                89.00           NA              NA            0.00       0.00
KAY JEWELERS                   Unsecured         1,500.00            NA              NA            0.00       0.00
LEES SUMMIT HOSPITAL           Unsecured            582.00           NA              NA            0.00       0.00
LVNV FUNDING                   Unsecured         1,202.00            NA              NA            0.00       0.00
METRO EMERGENCY PHYSICIANS     Unsecured            101.70           NA              NA            0.00       0.00
METROPOLITAN COMMUNITY COLL Unsecured               337.00           NA              NA            0.00       0.00



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Scheduled Creditors:
Creditor                                       Claim         Claim         Claim        Principal       Int.
Name                              Class      Scheduled      Asserted      Allowed         Paid          Paid
MIDWEST RADIOLOGY CONSULTAN Unsecured           1,226.00            NA           NA             0.00        0.00
MISSOURI DEPARTMENT OF REVENU Priority          1,281.94            NA           NA             0.00        0.00
NALC MASTERCARD               Unsecured         9,571.88            NA           NA             0.00        0.00
NATIONAL CAPITAL MANAGEMENT Unsecured          10,140.00       5,259.72     5,259.72            0.00        0.00
NEBRASKA FURNITURE MART       Secured           1,246.00       1,589.00     1,589.00           31.50        0.00
PAPA JOHNS                    Unsecured             60.00           NA           NA             0.00        0.00
QUEST DIAGNOSTICS             Unsecured             40.80           NA           NA             0.00        0.00
RESEARCH MEDICAL CENTER       Unsecured            800.00           NA           NA             0.00        0.00
RESEARCH MEDICAL CENTER       Unsecured            400.00           NA           NA             0.00        0.00
ROUNDUP FUNDING LLC           Unsecured            278.51        323.23       323.23            0.00        0.00
ST JOSEPH EMER PHYS INC       Unsecured            188.14           NA           NA             0.00        0.00
ST JOSEPH MEDICAL CENTER      Unsecured         1,190.15            NA           NA             0.00        0.00
ST LUKES HEALTH SYSTEMS       Unsecured            100.00           NA           NA             0.00        0.00
STEVEN D DUNNING DDS PC       Unsecured         2,968.26            NA           NA             0.00        0.00
STONEY CREEK ESTATES HOMEOWN Secured            1,254.37         636.92       636.92            0.00        0.00
SUMMIT GASTROENTEROLOGY LLC Unsecured              141.25           NA           NA             0.00        0.00
SUMMIT II FITNESS CTR         Unsecured            214.00           NA           NA             0.00        0.00
SWOPE HEALTH SERVICES         Unsecured         1,096.00            NA           NA             0.00        0.00
TIME WARNER CABLE             Unsecured            923.00           NA           NA             0.00        0.00
TOWN & COUNTRY DISPOSAL       Unsecured             58.85           NA           NA             0.00        0.00
TOYOTA MOTOR CREDIT           Unsecured              0.00           NA           NA             0.00        0.00
UNITED CASH LOAN              Unsecured            390.00           NA           NA             0.00        0.00
UNITED CASH LOAN              Unsecured            600.00           NA           NA             0.00        0.00
UNITED CASH LOAN              Unsecured            600.00           NA           NA             0.00        0.00
WELLS FARGO BANK NATIONAL ASS Secured         173,627.00    195,557.35    195,557.35       1,460.62         0.00
WELLS FARGO BANK NATIONAL ASS Secured          25,000.00     27,756.58     27,756.58            0.00        0.00


Summary of Disbursements to Creditors:
                                                              Claim           Principal                Interest
                                                            Allowed               Paid                    Paid
Secured Payments:
      Mortgage Ongoing                                 $196,194.27           $1,460.62                  $0.00
      Mortgage Arrearage                                $27,756.58               $0.00                  $0.00
      Debt Secured by Vehicle                           $14,028.54               $0.00                  $0.00
      All Other Secured                                  $1,589.00              $31.50                  $0.00
TOTAL SECURED:                                         $239,568.39           $1,492.12                  $0.00

Priority Unsecured Payments:
       Domestic Support Arrearage                             $0.00                 $0.00               $0.00
       Domestic Support Ongoing                               $0.00                 $0.00               $0.00
       All Other Priority                                     $0.00                 $0.00               $0.00
TOTAL PRIORITY:                                               $0.00                 $0.00               $0.00

GENERAL UNSECURED PAYMENTS:                             $18,078.56                  $0.00               $0.00




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Disbursements:

         Expenses of Administration                             $2,481.12
         Disbursements to Creditors                             $1,492.12

TOTAL DISBURSEMENTS :                                                                        $3,973.24


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 06/09/2011                             By:/s/ Richard V. Fink Trustee
                                                                      Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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